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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,


                   Plaintiff,
                                                   Civil Docket No. 20-cv-2295 (EGS)
        v.

 UNITED STATES POSTAL SERVICE, et al.,


                   Defendants.



 DEFENDANTS’ STATUS UPDATE REGARDING THE PRINCETON POST OFFICE

       Pursuant to this Court’s November 1, 2020 Minute Order, Defendants respectfully provide

the following update regarding the Princeton Post Office:

       Postal Managers have completed searching all 180,000 pieces of delayed mail and no

additional ballots were located Monday. The 62 ballots that were discovered over the past

weekend were all immediately delivered to the BOE or the customers addressed, or returned to

sender when delivery was not possible. No delayed ballots were on-hand in the Princeton Post

Office this morning, and none are on-hand now.



Dated: November 3, 2020             Respectfully submitted,

                                    JEFFREY BOSSERT CLARK
                                    Acting Assistant Attorney General

                                    ERIC R. WOMACK
                                    Assistant Director, Federal Programs Branch

                                    /s/ Joseph E. Borson
                                    JOSEPH E. BORSON (Va. Bar No. 85519)
                                    KUNTAL CHOLERA
                                    ALEXIS ECHOLS
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